                                         Case 5:17-cv-00220-LHK Document 1281 Filed 01/13/19 Page 1 of 2




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                                   8                                 UNITED STATES DISTRICT COURT
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                                                                    NORTHERN DISTRICT OF CALIFORNIA
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                                                                              SAN JOSE DIVISION
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                                  12    FEDERAL TRADE COMMISSION,                            Case No. 17-CV-00220-LHK
Northern District of California
 United States District Court




                                  13                   Plaintiff,                            ORDER REGARDING QUALCOMM’S
                                                                                             UNSEALING OF APPLE PAYMENT
                                  14              v.                                         AMOUNT
                                  15    QUALCOMM INCORPORATED,
                                  16                   Defendant.

                                  17

                                  18          On Friday, January 11, 2019, Qualcomm Inc.’s (“Qualcomm”) CEO Steve Mollenkopf

                                  19   testified that non-party Apple, in exchange for an exclusivity agreement, “wanted [Qualcomm] to

                                  20   pay [Apple], I think it was a billion dollars.” Transcript at 819:4-5. Mollenkopf also testified that

                                  21   as part of the resulting Transition Agreement that Qualcomm and Apple reached in 2011,

                                  22   “[Qualcomm] would pay [Apple] a billion dollars in incentive.” Id. at 822:23-24. At the trial,

                                  23   Qualcomm’s trial counsel stated that the $1 billion figure was “known and not sealed.” Id. at

                                  24   823:3-4.

                                  25          However, on Thursday, January 10, 2019, Qualcomm represented that the $1 billion

                                  26   amount of Qualcomm’s incentive payment to Apple was a “confidential pricing term” and sought

                                  27   to seal references to the $1 billion figure. See ECF No. 1216; ECF No. 1216-1, ¶ 20. The Court

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                                       Case No. 17-CV-00220-LHK
                                       ORDER REGARDING QUALCOMM’S UNSEALING OF APPLE PAYMENT AMOUNT
                                         Case 5:17-cv-00220-LHK Document 1281 Filed 01/13/19 Page 2 of 2




                                   1   granted Qualcomm’s motion to seal the $1 billion payment amount based on Qualcomm’s

                                   2   representation that the $1 billion figure was a “confidential pricing term.” ECF No. 1235.

                                   3          After having successfully sealed the $1 billion payment amount, Qualcomm then asserted

                                   4   in a filing Friday night that the $1 billion incentive in the 2011 Transition Agreement is not

                                   5   confidential because it is public information. ECF No. 1269 at 1. Qualcomm cited the FTC’s

                                   6   public complaint in this action, which alleges only that “Qualcomm’s 2011 and 2013 agreements

                                   7   with Apple provided for billions of dollars in conditional rebates from Qualcomm to Apple.” ECF

                                   8   No. 1 ¶ 124. Contrary to Qualcomm’s assertion, the FTC’s complaint does not reveal that

                                   9   Qualcomm paid Apple $1 billion via the 2011 Transition Agreement. Qualcomm does not cite

                                  10   any instance where the specific amount paid by Qualcomm to Apple via the 2011 Transition

                                  11   Agreement has been publicly revealed.

                                  12          In its motion to seal, Qualcomm asserted that compelling reasons merited sealing both the
Northern District of California
 United States District Court




                                  13   $1 billion total payment amount and the amounts Qualcomm paid to Apple via specific funds in

                                  14   order to reach that $1 billion amount. ECF No. 1216. Now that Qualcomm has chosen to publicly

                                  15   reveal the $1 billion payment amount, compelling reasons no longer exist to seal the amounts

                                  16   Qualcomm paid to Apple via specific funds in order to reach the $1 billion total payment amount.

                                  17          Therefore, Qualcomm shall unseal any references to the $1 billion payment amount and the

                                  18   amounts Qualcomm paid to Apple via specific funds in order to reach that $1 billion amount. By

                                  19   January 14, 2019, at 8:00 a.m., Qualcomm shall file revised public redacted versions of any

                                  20   documents containing those figures consistent with this order.

                                  21   IT IS SO ORDERED.

                                  22   Dated: January 13, 2019

                                  23                                                    ______________________________________
                                                                                        LUCY H. KOH
                                  24                                                    United States District Judge
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                                       Case No. 17-CV-00220-LHK
                                       ORDER REGARDING QUALCOMM’S UNSEALING OF APPLE PAYMENT AMOUNT
